   Case 0:19-cv-62944-CMA Document 1 Entered on FLSD Docket 11/27/2019 Page 1 of 3



                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                               CASE NO.

   JOSE LUIS MIRABAL,

                    Plaintiff,
   v.

   HAIRPEOPLE HAIRCUTS, INC.,
   DAWN DELANEY and ROBERT DELANEY,

                    Defendants.                            /

                                            NOTICE OF REMOVAL

           Defendants, HAIRPEOPLE HAIRCUTS, INC. (“HAIRPEOPLE”), DAWN DELANEY (“D.

   DELANEY”), and ROBERT DELANEY (“R. DELANEY”), pursuant to 28 U.S.C. §§ 1441 and 1446,

   files this Notice of Removal of the above-captioned action from the Circuit Court of the Seventeenth

   Judicial Circuit, in and for Broward County, Florida, and states as follows:

               1.        Plaintiff, JOSE LUIS MIRABAL (”MIRABAL”) commenced this action against

   HAIRPEOPLE, D. DELANEY and R. DELANEY by filing a Complaint in the Circuit Court of the

   Seventeenth Judicial Circuit, in and for Broward County, Florida, Case No. CACE-19-021311 (02).

               2.        Plaintiff seeks relief under the Fair Labor Standards Act (FLSA), 29 U.S.C. § 201 et.

   seq.

               3.        On October 30, 2019, Plaintiff served HAIRPEOPLE, D. DELANEY, and R.

   DELANEY with a copy of the Summons and Complaint from the state court proceeding. On November

   22, 2019, Defendants filed a Notice of Appearance and Compliance with Rule 2.516(b)(1) and Designation

   of Email Address. A true and correct copy of all the pleadings, and other documents that have been filed

   in this action are attached hereto as composite Exhibit “A.”

               4.        No further proceedings have been had, and fewer than thirty (30) days have elapsed

   since this action became removable to this Court.



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   Case 0:19-cv-62944-CMA Document 1 Entered on FLSD Docket 11/27/2019 Page 2 of 3




               5.       Pursuant to 28 U.S.C. § 1441, this case is removable because the United States

   District Court has original jurisdiction because Plaintiff’s claim arises under the laws of the United

   States.

               6.       Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Removal

   will be given to counsel for Plaintiff, and a copy of the Notice of Removal will be filed with the Clerk

   of the Circuit Court of the Seventeenth Judicial Circuit, in and for Broward County, Florida, General

   Jurisdiction Division, State of Florida.

               WHEREFORE, Defendants HAIRPEOPLE, D. DELANEY, and R. DELANEY remove this

   action to this Court, and respectfully request that it proceed in this forum.

                                                   Respectfully submitted,

                                                   GALLUP AUERBACH
                                                   Counsel for Defendants
                                                   4000 Hollywood Boulevard
                                                   Presidential Circle – Suite 265 South
                                                   Hollywood, Florida 33021
                                                   Telephone:     (954) 894-3035
                                                   Facsimile:     (954) 894-8015
                                                   E-mail: dgallup@gallup-law.com


                                                   By:        /s/ Dana M, Gallup
                                                              DANA M. GALLUP
                                                              Florida Bar No.: 0949329




                                                          2

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   Case 0:19-cv-62944-CMA Document 1 Entered on FLSD Docket 11/27/2019 Page 3 of 3




                                                 SERVICE LIST

           I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished this 27th
   day of November 2019, via e-mail to R. Martin Saenz, Esq. (msaenz@saenzanderson.com), Counsel for
   Plaintiff, Saenz & Anderson, PLLC, 20900 NE 30th Avenue, Suite 800, Aventura, FL 33180.

                                                                    By: /s/ Dana M, Gallup
                                                                        DANA M. GALLUP




                                                          3

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